lase 2:90-cv-00520-KJM-SCR Document 2130 Filed 02/05/07 Pageiofi1

IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF CALIFORNIA

RALPH COLEMAN, et al., 2:90-cv-00520 LKK JFM P

Plaintiffs, | [PROPOSED] ORDER
APPROVING AMENDED

v. STIPULATION RE:
CLINICAL COMPETENCY
ARNOLD SCHWARZENEGGER, et al., OF PSYCHIATRISTS,
CONFIDENTIALITY OF
Defendants. | IDENTIFYING
INFORMATION

This Court has reviewed the first portion of the amended stipulation of the parties
concerning language to insert in the Revised Program Guide to address the clinical competency
of psychiatrists and hereby adopts it as an order of this court.

This Court has reviewed the second portion of the above stipulation of the parties
concerning the sealing of information containing or indicating the confidential nature of the
identities of those CDCR psychiatrists hired before 2006 who do not meet minimum
credentialing criteria. The Court approves the stipulated seal and makes it an order of the court.

Dated: By:

’ HON. LAWRENCE K. KARLTON
United States District Court Judge

[Proposed] Order Re: Amended Psych Stip

